ALMB 3 (Rev 12/17)




                                                        United States Bankruptcy Court
                                                          Middle District of Alabama


    IN RE: FRANCES MOORE                                                                                CASE NO.




                                                                      CHAPTER 13 PLAN
                                                                      Date     10/21/2019

                                                                   FI Check If Amended Plan
     1. NOTICES
       1.1. Creditor Notices
       CREDITOR'S RIGHTS WILL B AFFECTED BY THIS PLAN. You should carefully read this and other documents sent to you, and
       discuss them with your attorney.
       TO FILE AN OBJECTION TO CONFIRMATION. An objection to confirmation must be filed not later than seven days prior to the
       date fixed for the confirmation hearing. The document must state with particularity the grounds for the objection.

       PROOFS OF CLAIM. Creditors riust file a timely proof of claim to be paid under this plan. Confirmation of this plan does not bar the
       debtor, trustee, or a party in inte est from objecting to a claim. Confirmation of this plan does not constitute the allowance or
       disallowance of the amount of the creditor's claim, but it does control how the claim will be paid under the plan.

                 A limit on the amount of a secured claim which may result in a partial payment or no
       1.1.1     payment at all to thesecured creditor, set out in paragraph 5.1. If the Included box is              IncIuded   SNot Included
                 checked, the plan must De served on the affected creditor. Rule 3012, F.R. Bankr. P.
                 Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest,
     1.1.2       set out in paragraph 6. I the Included box is checked, the plan must be served on the             flIncluded       Not Included
                 affected creditor. Rule 4003, F.R. Bankr. P.

       1.1.3     Nonstandard provisions set out in paragraph 17.                                                      Included      Not Included



    2. PAYMENT AND

       Debtor shall pay            $246.00          per month                  to the chapter 13 trustee beginning

       The length of the plan is           6         months. Other payment provisions:




    3. FILING FEES

       The filing fee as prescribed by Local Rule 1006-1 shall be paid as follows:
       fl    Filing fee paid in full directly to the clerk of court with the petition.

       U     Filing fee is being paid in in , taliments directly to the clerk of court.
             Filing fee is being paid in in,, taliments through this plan as follows:
               Total filing fee:                                                                        $310.00
               Initial installment paid with filing of petition:                                           $1.00
               Remaining balance to be i aid through the chapter 13 plan:                               $309.00




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    4. ATTORNEY'S FEES FOR DEB1FOR'S BANKRUPTCY COUNSEL

         The following attorney's fees shll be paid through the debtor's plan payments:
         Total attorney fee:                                                                            $3,500.00
         Amount paid by the debtor directly to attorney prior to filing:
         Net attorney fee being paid through the chapter 13 plan disbursements:                         $3,500.00


    5. SECURED CLAIMS

         5.1 SECURED CLAIMS PAID THROUGH THE TRUSTEE WHERE PLAN LIMITS VALUE OF COLLATERAL

               The remainder of this                will be effective only if the applicable box in paragraph 1.1.1 is checked.

               Pursuant toll U.S.C. §132 (b)(2), claims being paid under this section of the plan will be modified. For secured claims of
               creditors, unless ordered ot' erwise by the court, the plan provisions below control the value of the secured claim listed below.
               For secured claims of gover mental units, unless otherwise ordered by the court, the value of a secured claim listed in the proof
               of clam filed in accordance ith the bankruptcy rules controls over any contrary amounts listed below. The debtor proposes that
               the trustee make adequate rotection payments prior to the confirmation of this plan pursuant to 11 U.S.C. §1 326(a)(1) to the
               following creditors indicated )eOW holding a purchase money security interest in personal property. Only those creditors entitled
               to 11 U.S.C. §1 326(a)(1) ad quate protection payments will receive pre-confirmation payments through the debtor's payments tc
               the trustee. The trustee shal commence making such payments to creditors holding allowed claims secured by an interest in
               personal property consisten with the trustee's distribution process only after the timely filing of a proof of claim by such creditor.
               The trustee shall receive th percentage fee fixed under 28 U.S.C. § 586(e) on all adequate protection payments. Pre-
               confirmation adequate prob tion payments shall be applied to the principal of the creditor's claim. Upon confirmation of this
               plan, all secured creditors w I I receive adequate protection payments as set out below along with the payment of the debtor's
               attorneys fees. At such timi as the debtor's attorney's fees have been paid in full, the creditor's claim shall be paid its specified
               month!', can payn'er r e terms and conditions listed helow

                                                                                                                           § 1326
                                                                                                                           PMSI                       Specified
                    Cr jdor                     I:.erl                                   CollateralValue Interest                    Ad P
                                                                                                            Rate           Adeq            m 0t       Monthly
                                                                                                                           Prot?                  I
                                                                                                                                                      Payment


                                        2012 Chevrolet Malibu           $6,700.00       $3,300.00                                    $33.00       1$68.00




         5.2                                                                                    IS NOT MODIFIED
               The claims listed below wei       either (1) incurred within 910 days before the petition date and secured by a purchase money
               security interest in a motor'     hicle acquired for the personal use of the debtor, or (2) incurred within 365 days of the petition date
               and secured by a purchase         oney security interest in any other thing of value. The debtor proposes that the trustee make
               adequate protection payme        Ls prior to the confirmation of this plan pursuant to 11 U.S.C. § 1326(a)(1) to the following creditors
               indicated below holding a p       chase money security interest in personal property. Only those creditors entitled to 11 U.S.C. §
               1326(a)(1) adequate protec       on payments will receive pre-confirmation payments through the debtor's payments to the trustee.
               The trustee shall commenc        making such payments to creditors holding allowed claims secured by an interest in personal
               property consistent with the     rustee's distribution process and only after the timely filing of proofs of claim by such creditors. The
               trustee shall receive the per    e,3tage fee fixed under 28 U.S.C. § 586(e) on all adequate protection payments. Pre-confirmation
               adequate protection payme        Is shall be applied to the principal of the creditor's claim. Upon confirmation of this plan, all secured
               creditors will receive adequ     :e protection payments as set out below along with the payment of the debtor's attorney's fees. At
               such time as the debtor's at      mey's fees have been paid in full, creditors' claims shall be paid the specified monthly plan
               payments on the terms and        :onditions listed below as required under 11 U.S.C. § 1325(a)(5). Claims being paid under this
               section of the plan will not b    affected by 11 U.S.C. § 506 and will be paid pursuant toll U.S.C. § 1325(a)(5).

                                                                                                                             §1326
                                                                                                                             PMSI                       Specified
                                                                                               illateral Valu e Interest      Adeq
                                                                                                                                        Adeq Prot
                                                                                                                                                        Monthly
                                                                                                                  Rate                    Pymt
                                                                                                                             Prot?                      Paymert



   gas                                                                                                                                 S                $
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      6. LIEN AVODAN.


               None.




     7. SURRENDERED PROPERTY
         The debtor surrenders the following collateral. Upon confirmation, the automatic stay (including the co-debtor stay) is lifted as to
         surrendered collateral. Any secç.ired claim submitted by such creditor will receive no distribution under this plan until an amended
         proof of claim reflecting any deficiency balance remaining following surrender, if applicable, is filed by such creditor.




    I          it Acceptance Corp.                      2006 Chevrolet Van                        $3,513.76          1$5,000.00



      8. CURING DEFAULTS
         Pursuant toll U.S.C. § 132       )(5), the debtor shall cure defaults with respect to the creditors indicated below. The trustee shall
         pay through this pian the alio   d claims for arrearages at 100%. Unless otherwise ordered by the court, the amount of default to
         be cured under this provision     all be the amount of the allowed claim filed by the creditor. The amount of arrearage listed herein is
         an estimate, and in no way si    I this estimate limit what the trustee shall distribute to said creditor under this plan to cure the
         default.




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      9. DIRECT PAYMEi'Ti
         The following secured crecitors or holders of long-term debt will be paid directly by the debtor to the creditor. The debtor shall make
         all 11 U.S.C. § 1326 pre-confiriition adequate protection payments directly to the following creditors pursuant to the terms of the
         contract withthe crcito. The btor shall continue to make all payments to the creditor directly pursuant to the terms of the
         contract following the cor,fVmcn of the debtors plan.




      10. LONG-TERM D EBTS MANTAINED_THROUGh_PLAN
          The debtor proocises that the trustee maintain the fciiowirrg long-term debts through the plan. Prior to confirmation of this plan, the
          trustee shall mr.c zdeqiate potection pyncis 'o si f the following long term creditors indicated below. The trustee shall
          commence making such payments to creditcrs hoding allowed secured claims consistent with the trustees distribution process
          and only after the timely filing of proofs of claim by such creditors. The trustee shall receive the percentage fee fixed under 28
          U.S.C. § 586(e) on all payments. Upon confirmation of this plan, said long term creditors will receive payments as set out below
          along with the payment of the debtor's attorney's fees. Unless otherwise ordered by the court, the amounts listed on a proof of
          claim filed before the filing deadline under Rule 3002(c), Federal Rules of Bankruptcy Procedure, or any notice of payment change
          filed under Rule 302. (h. Federal Rules of Bankruptcy Procedure, control over any contrary amounts listed below as to the
          curnt sTn '.             '      in th absence ef P rcnrry claim timely filed, the amounts stated below are controlling.




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      11 . DOMESTiC SUi: '3fl uBJGA'i:Ot'S
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         L       _i None.


     12. PRIORITY CLAIMS (Excluding Domestic Support Obligations)
         The debtor will pay all priority claims including the following pursuant to 11 U.S.C. § 507 unless a claimant expressly agrees
         otherwise. See 11 U.S.C. § 1322(b)(10).
                                      4113    R
                                  Claimant                                ype   of Priority            Interest Rate          Scheduled    Monthly Payment
                                                                                                       (if applicable)         Amount



   H      L. IRS                                                  Taxes                                4.00        %      $572.00          $12.00



     13. EXECUTORY CONTRACTS AND UNEXPIRED LEASES
          Executory contracts and unexpired leases receive the following designated treatment. For all executory contracts and unexpired
          leases being assumed by the debtor pursuant to this plan, the debtor shall make all pre-confirmation 11 U.S.C. § 1326 adequate
          protection payments directly to the lessors pursuant to the terms of the contracts. For all contracts assumed, following the
          confirmation of the debtor's plan the debtor shall continue to make all payments directly to the creditors pursuant to the terms of
          the contracts. Upon confirmation, the automatic stay (including the co-debtor stay) is lifted as to rejected contracts or leases. Any
          claim submitted by such creditor will receive no distribution under this plan until an amended proof of claim reflecting any
          deficiency balaic ~ remaining following reecin i f  '      r'hIg,is filed by such creditor.



                                  C                                       lateral Description                       Reject



                                                                                                                         El
     14. SPECIALLY CLASSIFIED UNSECURED CLAIMS
         The following claims shall beTs specially c1sified unsecured claims and shall receive the following designated treatment:


             r                    -
                                                                                              tArrtu
                                                                                                                                st Rate   Monthly Payment




     15. UNSECURED CLAIMS
                   Percentage Plan: Allowed non-priority unsecured claims shall be paid through the distribution of the debtor's chapter 13
                    plan at a rate of 0 00

         If the selected plans div i dend to unsecured creditors is less than 100%, the debtor proposes to pay to the trustee all projected
         disposable income for the applicable commitment period for the benefit of unsecured creditors as required by
         11 U.S.C. § 1325(b).

    16. OTHER PLAN PROVISIONS
         (a) Lien Retention Allowed secured claim holders shall retain liens until the liens are released or upon completion of all payments
         under this plan i:nless specified in paragraph C.

         (b) Vesting of Property of the Estate:

                   Property of the estate shall remain property of the estate subsequent to confirmation of this plan.




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              All property of the estate, whether it remains in the estate or revests with the debtor upon confirmation of the plan, shall
              remain in the debtor's possession and control. Subject to the requirements of 11 U.S.C. § 363, the debtor shall have use of
              property of the estate.

         (c) Direct Payments by Debtor: Secured creditors and lessors to be paid directly by the debtor may continue to mail to the debtor
         the customary monthly notices or coupons notwithstanding the automatic stay.


     17. NONSTANDARD PROVISIONS

                None.

     18. SIGNATURES OF DEBTOR AND DEBTORS ATTORNEY
         If the debtor does not have an attorney, the debtor must sign belo        If he or she does have an attorney, the debtor's signature is
         optional. The debtors attorney if any, must sign below.
                                                     ,tt
         Is/Frances Moore McMeans
         Signature of Debtor                                                      Signature of Joint Debtor

         Executed on       10/21/2019                                             Executed on




         Is/Gary A.C. Backus                                                      Executed on       10/21/2019
         Signature of Attorney for Debtor(s)



     By filing this document the debtor and his or her attorney (if applicable) certify that the wording and order of the provisions in
     this chapter 13 plan are identical to those contained in ALMB Local Form 3, other than any nonstandard provisions included in
     paragraph 17.




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